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                           IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

    ROOT, INC., et al.

                     Plaintiffs,                    Case No. 2:23-cv-00512

               v.                                   Judge Sarah D. Morrison

    BRINSON CALEB SILVER, et al.,                   Magistrate Judge Elizabeth Preston Deavers

               Defendants.
    _________________________________

                        MOTION TO LIFT LITIGATION INJUNCTION AND
                          INCORPORATED MEMORANDUM OF LAW

            Non-party, Miami 555 LLC, (“Movant”) respectfully seeks an Order lifting the litigation

stay entered in this action solely to permit Movant to proceed with foreclosure litigation pending

in the Eleventh Judicial Circuit Court in Miami-Dade County, Florida, against one of the

defendants in this case, Eclipse Home Design LLC (“Eclipse Home Design”). In support of this

motion, the Movant states as follows:

                                          BACKGROUND

            The Movant is the plaintiff in a mortgage foreclosure action now pending in Florida’s

Eleventh Judicial Circuit Court, Miami-Dade County, captioned Miami 555 LLC v. Eclipse Home

Design LLC, et al., case number 2023-015089-CA-1 (the “State Foreclosure Action”),1 arising

from Movant’s first mortgage senior lien. The Movant’s claims in the State Foreclosure Action

arise from a loan made to Eclipse Home Design on June 24, 2022, in the amount of $2,275,000.00,

accruing at a per annum interest rate of 18% in the event of a default, secured by a mortgage


1
 A true and correct copy of the verified Complaint in the State Foreclosure Action is attached as
Exhibit A.


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encumbering property located at 9125 North Bay Shore Drive, Miami, Florida 33138 (the

“Property”). The Property has an estimated value of $2,919,1762 which is well short of the total

amount owed under the loan for principle, default interest accrual, taxes, insurance, transaction

costs, attorney’s fees, and expenses. On December 1, 2022, Eclipse Home Design defaulted under

the terms of the loan by failing to remit payment. The Movant initiated the State Foreclosure

Action by filing its complaint on April 11, 2023.

            After the State Foreclosure Action was already pending on May 17, 2023, this Court

entered an order [DE 101] (the “Litigation Injunction Order”) appointing Jerry E. Peer, Jr.

(“Receiver”) as the receiver over receivership assets, which was defined as specifically including

the Property. In addition to appointing a receiver, the Litigation Injunction Order states “[i]n order

for the Receiver to effectively manage, protect and preserve the Receivership Property and for all

creditors . . . hereby are, enjoined and stayed from commencing or continuing any action at law or

proceeding in equity to enforce any claim or foreclose any liens against the Receivership property

or against the Receiver in any court . . . and from doing any and all things whatsoever to interfere

with the Receiver in the discharge this duties in this proceeding with exclusive jurisdiction of this

Court over the Receivership Property and the Receiver.” [DE 101 at p. 11, ¶ 5]. Notwithstanding,

the Litigation Injunction Order seems to take into account that there was the then pending State

Foreclosure Action, as it also states the “Receiver is authorized but not required to defend actions

against the Property . . .” [DE 101 at p. 10, ¶ m].




2
 A true and correct copy of the Miami-Dade County Property Appraiser’s value estimate for the
property is attached as Exhibit B.
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            Relying on the Litigation Injunction Order, the Receiver filed a motion to stay the State

Foreclosure Action3 without intervening in the proceedings. The Receiver’s motion to stay was

then granted out of deference to this Court by the Miami-Dade circuit court judge on October 5,

2023, despite opposition by the Movant.4 Accordingly, it is unlikely that the Miami-Dade County

circuit court judge will lift the stay absent an Order from this Court clarifying that the State

Foreclosure Action was not contemplated by this Court’s Litigation Injunction Order as an action

subject to a stay, and/or lifting the litigation injunction as to the State Foreclosure Action.

                                             ARGUMENT

      a. The Litigation Injunction Order runs afoul of the Anti-Injunction Act

            The Anti-Injunction Act states in full:

            A court of the United States may not grant an injunction to stay proceedings in a
            State court except as expressly authorized by Act of Congress, or where
            necessary in aid of its jurisdiction, or to protect or effectuate its judgments.

28 U.S.C. 2283. The Anti-Injunction Act is a “necessary concomitant of the Framers’ decision

to authorize, and Congress’ decision to implement, a dual system of federal and state courts”

and “represents Congress’ considered judgment as to how to balance the tensions inherent in

such a system.” Smith v. Bayer Corp., 564 U.S. 299, 306 (2011) (internal quotations omitted).

Accordingly, “[a]ny doubts as to the propriety of a federal injunction against state court

proceedings should be resolved in favor of permitting the state courts to proceed.” Id.

            “The Supreme Court has, on several occasions, recognized that the Anti–Injunction Act

creates ‘an absolute prohibition against enjoining state court proceedings, unless the injunction

falls within one of three specifically defined exceptions.’” Martingale LLC v. City of Louisville,


3
  A true and correct copy of the Receiver’s motion to stay the State Foreclosure Action is attached
as Exhibit C.
4
  A true and correct copy of the Order granting the Receiver’s motion to stay the State Foreclosure
Action is attached as Exhibit D.
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361 F.3d 297, 302 (6th Cir. 2004) (quoting Atlantic Coast Line R.R. Co. v. Bhd. of Locomotive

Eng’rs, 398 U.S. 281, 286–87, 90 S.Ct. 1739, 1743, 26 L.Ed.2d 234 (1970)). “These three

exceptions, embedded within the statute’s text, permit injunctions against state court

proceedings (1) where Congress expressly authorizes, (2) where necessary in aid of the court's

jurisdiction, and (3) where necessary to protect or effectuate the court's judgments.” Id. “Once

the Anti–Injunction defense is raised, the party pursuing the injunction bears the burden of

establishing that the injunction falls within one of the exceptions.” Leavell v. Wells Fargo

Bank, N.A., 08-15278, 2009 WL 1439915, at *4 (E.D. Mich. May 19, 2009).

            Irrefutably, Congress has not expressly authorized injunctions against state courts

regarding mortgage foreclosures. Therefore, the first exception does not apply. The third

exception, which authorizes a federal court to “protect or effectuate its judgments” is just as

summarily dismissible, as a judgment has not yet been entered in this case. See Silcox v. United

Trucking Serv., Inc., 687 F.2d 848, 850 (6th Cir. 1982) (“federal courts may enjoin the relitigation

in state court of issues that federal courts have fully and finally adjudicated”). Accordingly, only

the second exception could arguably apply.

            As a rule, the second exception applies in “only two scenarios: where the case is

removed from the state court, and where the federal court acquires in rem or quasi in rem

jurisdiction over a case involving real property before the state court does.” Martingale LLC v.

City of Louisville, 361 F.3d 297, 302 (6th Cir. 2004). Therefore, even under the second

exception, “the Anti Injunction Act prohibits federal courts from issuing injunctions against

state court proceedings commenced after the institution of the federal suit but before the

injunction was issued.” Tropf v. Fid. Nat. Title Ins. Co., 289 F.3d 929, 941 (6th Cir. 2002)

(internal quotations omitted). Other district courts within the Sixth Circuit have applied this



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rule in the specific context of a receivership. See Liberte Capital Group v. Capwill, 5:99 CV

818, 2003 WL 27396084, at *3 (N.D. Ohio Feb. 3, 2003) (enjoining a state foreclosure action

specifically because the federal court was initiated before the state action).

            There is no question that the State Foreclosure Action was pending at the time that the

Litigation Injunction Order was entered. Therefore, the Litigation Injunction Order cannot be

used as a basis to enjoin the State Foreclosure Action. This Court should enter an order either

clarifying that the State Foreclosure Action is not subject to the Litigation Injunction and/or lifting

the litigation injunction as to the State Foreclosure Action.

      b. The Stay Should Be Lifted on the Merits

            In determining whether to lift a litigation stay, a court should consider “(1) whether

refusing to lift the stay genuinely preserves the status quo or whether the moving party will suffer

substantial injury if not permitted to proceed; (2) the time in the course of the receivership at which

the motion for relief from the stay is made; and (3) the merit of the moving party’s underlying

claim.” SEC v. Stanford Int’l Bank Ltd., 424 Fed. Appx 338, 341 (5th Cir. 2011) (quoting SEC v.

Wencke, 742 F. 2d 1230, 1231 (9th Cir. 1984)); see also SEC v. Provident Royalties, Civ. A. No.

3:09-CV-1238-L, 2011 U.S. Dist. LEXIS 74304 at *6-14 (N.D. Tex. July 7, 2011) (when balancing

the movant’s interest in lifting a stay, the Court should consider “whether the moving party will

suffer substantial injury if not allowed to proceed”). Because not lifting the stay would not

preserve the status quo and would only prejudice the Movant on its valid and meritorious

foreclosure claim, the litigation injunction as to the State Foreclosure Action should be lifted.

            First, the stay is not necessary to preserve the status quo. It is not reasonably in dispute

that the note and mortgage encumbering the Property represents a valid debt or that the amount

owed is substantially more than the value of the Property. The Receiver has not moved to intervene



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in the State Foreclosure Action and has no ability to seize or attach any recovery in that action,

and presumably recognizes the lack of incentive to defend. By contrast, the Movant will suffer

substantial prejudice if not permitted to proceed. See United States v. JHW Greentree Capital LP,

Civ. Action No. 3:12-CV-00116, 2014 U.S. Dist. LEXIS 203206, at *13-14 (D. Conn. May 16,

2014) (lifting stay of litigation where movant was prejudiced by its inability to prosecute breach

of contract and fraud claims against a small asset that was indirectly owned by receivership entity,

and where neither the receiver nor the estate were or would be parties to the movant’s action).

            Second, even assuming the Receiver could attach the proceeds of the foreclosure litigation

(and he cannot), the Receiver has had more than ample time to investigate the claim and to

intervene to assert an interest, but he has not done so. Indeed, the State Foreclosure Action was

commenced over seven months ago. Yet, the Receiver has not intervened in the State Foreclosure

Action, despite having participated in the proceedings by moving for the stay.

            Finally, the Movant’s claims in the State Foreclosure Action has overwhelming merit, and

the Receiver has not asserted anything to the contrary; nor could he. See JHW, supra at *24. (in

determining whether the underlying claims of a movant seeking to lift a stay have merit, a Court

need only decide if the claims are “colorable”). In this regard, the Movant is being prevented from

seeking redress for the harm caused to it by Eclipse Home Design’s loan default, when such redress

will not cause any harm to the receivership estate.

            In fact, permitting the State Foreclosure Action to proceed may benefit the receivership

estate to the extent any recovery in that action may compensate the Movant, in whole or in part,

and thereby reduce any claims it may have to be compensated through the receivership estate as a

creditor.




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                                          CONCLUSION

            For the foregoing reasons, the non-party Movant, Miami 555 LLC, respectfully requests

that the Court enter an Order (i) either clarifying that the stay of litigation does not apply to the

State Foreclosure Action or expressly lifting the stay to permit the State Foreclosure Action to

proceed, and (ii) granting such further relief as the Court deems just and proper.

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                                  CERTIFICATE OF SERVICE
        I hereby certify that on November 20, 2023, a true and accurate copy of the foregoing was
filed electronically. Notice of this filing has been sent to all parties by operation of the Court’s
electronic filing system. Parties may access this filing through the Court’s system.

A copy was also sent by ordinary U.S. Mail, postage prepaid, to the following:

Paige McDaniel
5576 Alexanders Lake Road
Stockbridge, GA 30281

                                                      By: /s/ Alexis Fields
                                                      ALEXIS FIELDS

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